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                       UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT
                          Form 6. Representation Statement
       Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
  Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
  Name(s) of party/parties:
  Jawad Nesheiwat


  Name(s) of counsel (if any):
  Peter D. Lepiscopo (California Bar No. 139583)



  Address: 695 Town Center Drive, 7th Floor, Costa Mesa, CA 92626
  Telephone number(s): (619) 251-2428
  Email(s): plepiscopo@att.net; plepiscopo62@gmail.com
  Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

  Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
  separately represented parties separately.)
  Name(s) of party/parties:
  Bureau of Consumer Financial Protection


  Name(s) of counsel (if any):
  Colin Reardon (NY Bar #4945655); E. Vanessa Assae-Bille (NY Bar #5165501)



  Address: 1700 G Street, NW, Washington, D.C. 20552
  Telephone number(s): (202) 435-7688
  Email(s): colin.reardon@cfpb.gov; elisabeth.assae-bille@cfpb.gov


  To list additional parties and/or counsel, use next page.
                     Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

  Form 6                                                1                                        New 12/01/2018
Case 8:20-cv-00043-SB-ADS Document 243 Filed 09/25/21 Page 2 of 3 Page ID #:5533




  Continued list of parties and counsel: (attach additional pages as necessary)
  Appellants
  Name(s) of party/parties:



  Name(s) of counsel (if any):



  Address:
  Telephone number(s):
  Email(s):
  Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
  Appellees
  Name(s) of party/parties:



  Name(s) of counsel (if any):



  Address:
  Telephone number(s):
  Email(s):
  Name(s) of party/parties:



  Name(s) of counsel (if any):



  Address:
  Telephone number(s):
  Email(s):
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

  Form 6                                               2                                         New 12/01/2018
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                                  1
                                                                  CERTIFICATE OF SERVICE

                                  2                                   DOCUMENTS SERVED
                                  3
                                               I, Peter D. Lepiscopo, counsel of record for defendant, Jawad Nesheiwat,
                                  4

                                  5
                                         hereby certify that the following documents have been served in the manner set forth

                                  6      below:
                                  7
                                            1. REPRESENTATION STATEMENT
                                  8

                                  9
                                                            CERTIFICATE OF SERVICE—CM/ECF

                                  10           I hereby certify that true and correct copies of the foregoing documents have
                                  11
LEPISCOPO & ASSOCIATES LAW FIRM




                                         been served on the Court and all counsel of record, who have appeared in this action,
                                  12

                                  13     via the Court’s electronic filing system on September 25, 2021.

                                  14

                                  15
                                         Dated: September 25, 2021.                   Respectfully submitted,
                                  16

                                  17                                                  /s/ Peter D. Lepiscopo .
                                                                                      PETER D. LEPISCOPO
                                  18                                                    Counsel of Record
                                  19
                                                                                      Attorneys for Defendant, JAWAD
                                  20                                                  NESHEIWAT
                                  21

                                  22

                                  23

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                                  28                                   CERTIFICATE OF SERVICE
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